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PLAINTIFF,
VS. CR.NO. 04-20482-1\@/11 C_OLQQC
TRACY CAMPBELL, MM 3 M PH:P*P how h
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DEFENDANT. 3 g

 

   

MOTION To WITHI§§','@ 1 '“`:"s"":'c"j'oUNsEL

 

Cornes now Linda Parson Khumalo, appointed counsel for Tracy Carnpbell, and
makes a motion for permission to Withdraw from further representation of the above-
referenced defendant ln support, counsel Would state unto the Court as follows:

(l) Counsel was appointed to represent the defendant on December 16, 2004.

(2) Since that time, counsel has had numerous consultations With the

defendant, Who is housed at CCA Mason, either by way of telephone or in
person. Counsel, further, has investigated the case and begun to prepare
the case for trial having recently engaged the services of a private
investigator.

(3) Counsel has, however, recently received personal information that counsel

fears may interfere with her continued representation of the defendant

(4) Counsel fears that she is not currently in a position to give the defendant

or the case the time and attention required for optimum representation

Th\s doct.ment entered on the docket sheet |n compliance
with Fttl|e 55 and!or 32¢1)\ FRCrP on ' '

Case 2:O4-cr-204&2-.1E’M Document 25 Filed 06/01/0"5~' Page 2 of 3 Page|D 34

(5) Counsel has consulted with the defendant and he has no objection to the
motion."

(6) Consequently, counsel feels that, in the interest of justice, good cause
exists and that the motion should be granted.

Wherefore, premises considered, counsel for the defendant prays for the relief

sought herein.

Respectfully submitted,

mda Parson KhB`malo #12748

Counsel for Defendant
P.O. Box 40184
Memphis, TN 38174
Telephone (901) 832-4059
Fax (901) 725-9623

 

CERTIFICATE OF SERVICE
I, Linda Parson Khumalo, hereby certify that a true and exact copy of the
foregoing Motion to Withdraw as Counsel has been sent via first-class mail, postage

prepaid, to Stephen Hall, Assistant U.S. Attorney at 167 N. Main Street, Mernphjs, TN

38103.

This |%H~aay 0prr11,2005.

SS)WM,QJ/

INDA PA§sQN KHUMALO

 

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CR-20482 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Linda Parson Khurnalo

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Stephen P. Hall

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167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

